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                                                             No . 06-5109
                                          United States Court of Appeals , Third Circuit


           Disabled in Action of Pennsylvania v. Southeastern Pennsylvania
                              Transportation Authority
                                                     539 F. 3d 199 (3d Cir. 2008)
                                                       Decided Aug 19, 2008



    No. 06-5109.                                                         Pennsylvania (DIA) argues that under the plain
                                                                         language of the statute, its claims accrued "upon
    Argued January 10, 2008 .
                                                                         the completion" of alterations to two Philadelphia
    Filed: August 19, 2008 .                                             subway     stations.  Appellee    Southeastern
                                                                         Pennsylvania Transportation Authority (SEPTA)
    Appeal fro the United States District Court for the
                                                                         argues, and the District Court held, that DIA's
    Eastern District of Pennsylvania, Gene E.K.
                                                                         claims accrued prior to the completion of the
200 Pratter, J. •200
                                                                         alterations when DIA discovered that the planned
    Stephen F. Gold (Argued), Philadelphia, PA,                          alterations would not include elevators.
    Rocco J. Iacullo, Mark J. Murphy, Disabilities
    Law Project, Philadelphia, PA, Attorneys for
                                                                         I.
    Appellant.                                                           We view the facts and draw all reasonable
                                                                         inferences in the light most favorable to DIA, the
    Gregory B. Friel (Argued), Jessica D. Silver,                        party against whom summary judgment was
    United States Department of Justice, Civil Rights                    entered. Feesers, Inc. v. Michael Foods, Inc., 498
    Division, Appellate Section, Washington, DC,                         F.3d 206. 208 (3d Cir. 2007) (citing Andreoli v.
    Attorneys for Amicus Appellant.                                      Gates, 482 F.3d 641. 644 (3d Cir. 2007)).
    Saul H. Krenzel (Argued), Saul H. Krenzel                            DIA is a non-profit corporation that seeks to
    Associates,    Philadelphia,   PA,   Attorneys     for               eliminate    discrimination    against disabled
    Appellee.                                                            individuals in all aspects of community life. To
    Before: FISHER,        HARDIMAN                    and               achieve this goal, DIA employs a variety of
    STAPLETON, Circuit Judges.                                           methods including: government monitoring,
                                                                   202   political activism, *202 direct involvement in
                                                                         municipal planning, and, as a last resort, litigation.
201 •201
                                                                         Many of DIA's approximately 450 members use
                                                                         wheelchairs and rely on SEPTA for their public
    OPINION OF THE COURT                                                 transportation needs.

    HARDIMAN, Circuit Judge.                                             SEPTA is an agency of the Commonwealth of
                                                                         Pennsylvania responsible for providing public
    In this statutory interpretation case, we must                       transportation in Southeastern Pennsylvania. In
    decide when the statute of limitations begins to                     Philadelphia, SEPTA's City Transit Division
    run in a case arising under the Americans With                       operates a vast network of subway and subway-
    Disabilities Act (ADA) and the Rehabilitation Act                    elevated rapid rails, regional rails, light rails ,
    (RA). Appellant Disabled in Action of


 "'°"" casetext
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    trackless trolleys, and buses that provide over                        Prior to SEPTA's renovations, the 15th Street
    850,000 passenger trips per day. SEPTA receives                        Courtyard included a set of stairs and two
    federal funding for many of its activities,                            escalators enclosed within a head-house. On
    including its recent remodeling of an entrance to                      September 27, 1999, SEPTA received a $700,000
    the 15th Street Station.                                               grant from       the    Economic       Development
                                                                           Administration of the United States Department of
    A. 15th Street Station and Courtyard
                                                                           Commerce for a project entitled "Renovation of
    The bustling 15th Street Station 1s located                            15th and Market Streets Headhouse at Suburban
    underground near 15th and Market Streets in                            Station." According to the grant, the project was to
    downtown Philadelphia. Passengers can access the                       involve "various renovations to the 15th and
    station in two ways. First, using the stairway at the                  Market Streets entrances and related areas"
    southwest side of 15th and Market Streets,                             including "renovation of entrances to the
    passengers can descend directly to the platform for                    underground train station concourse; demolition of
    the Market-Frankford subway line. Second, using                        existing facilities ; the construction/installation of
    the stairway or escalator at the northwest side of                     new stairs, landscaping, lighting, signage, finishes,
    the same block, passengers can descend to the                          canopies; and all appurtenances."
    "15th Street Courtyard." From there, they can turn
                                                                           In accepting the Commerce Department funding,
    northward toward the Suburban Regional Rail
                                                                           SEPTA agreed to "pursue diligently the
    Line Station (Suburban Station), or southward,
                                                                           development of the Project so as to ensure
    toward the Market-Frankford platform. SEPTA's
                                                                           completion . . . within [the] time schedule."
    renovations to this latter entrance gave rise to the
                                                                           Specifically, the grant required SEPTA to begin
    present dispute. 1
                                                                           construction within 18 months of its receipt of the
          1 The parties dispute whether the 15th Street                    funds and to limit the total construction period to
            Courtyard is an "entrance" to the Market-                      29 months. In addition, the grant was to expire
            Frankford Station or to the Suburban                           "five (5) years from the fiscal year of the Grant
            Station. According to SEPTA, "in order to                      Award," requiring that the project be "physically
            reach the 15 th Street Market-Frankford                        and financially completed by September 30,
            Station, an individual" must first enter "the                  2004."
            Suburban Station Transit Facility at the
            15th Street Courtyard " and then "travel                       Having secured funding, SEPTA applied to the
            south in the 15th Street corridor, exit                        City of Philadelphia for a variance from certain
            Suburban     Station,       and   travel         over    203   provisions of the Building *203 Code. Among the
            underground transit lines before entering                      provisions from which SEPTA sought a variance
            the 15th Street Market-Frankford Station."                     was Section B-1110.2.2(9), which requires that "
            Regardless whether it is technically labeled                   [w ]here building entrances are altered, or when
            an "entrance," the 15th Street Courtyard
                                                                           plans are presented to relocate and provide a new
            undi sputedly    provides     access       to     the
                                                                           primary entrance, the entrance shall be made
            Market-Frankfo rd Station. Accordingly, at
                                                                           accessible." For obvious reasons, SEPTA's
            this stage of the liti gation, we accept DIA's
                                                                           variance application caught the attention of DIA's
            characterization       of   the   15th          Street
                                                                           legal counsel, Stephen F. Gold.
            Courtyard as an "entrance" to the Market-
            Frankford Station . Michael Foods, 498                         Fearful that SEPTA's renovations would not
            F.3d at 208. 212. The District Court may
                                                                           include an elevator, Gold wrote to Edward
            take up this nuance and determine its
                                                                           McLaughlin, City Commissioner for the
            relevance   to     §   12147(a)   liability        on
                                                                           Department of Licenses and Inspections. In his
            remand.



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    casetext                                                                                                                        2
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      letter of August 3, 2000, Gold expressed concern               This letter is to advise you that the City
      "that the City would allow SEPTA to apply for                  doe [ sic] not share your view that an
      such a variance on its behalf for such a major                 elevator is required in the 15th Street
      public access point." Gold insisted that "[i]n                 courtyard and has issued a building permit
      addition to ensuring that renovations . . . are                for the project. 2 Please remember that the
      carried out in compliance with the Building Code,              15th Street courtyard will be readily
      the City also has an obligation to ensure that such            accessible to and usable by individuals
      renovations are . .. carried out in compliance with            with disabilities. As you are aware,
      the [Americans With Disabilities Act]." He asked               elevators are planned for other locations
      McLaughlin to keep him infonned "as to how the                 near the 15th Street courtyard.
      City plans to proceed with [SEPTA's] variance
                                                                        2 It is unclear to what building pem1it this
      request."
                                                                          permit for the 15th Street Courtyard project

      Gold received no response from McLaughlin and                       statement refers as the City did not issue a

      consequently discussed his concerns with Pete                       until mid-February 2001. App'x 2 16.

      Winebrake, an attorney in the City Solicitor's
                                                                     The current bids for the portion of the
      Office. Gold summarized the discussion in a letter
                                                                     project that includes the 15th Street
      dated September 28, 2000 : "As I stated on the
                                                                     courtyard renovations are only good
      phone yesterday, this problem should be resolved
                                                                     through December 30, 2000. If, therefore,
      before construction commences, or you leave me
                                                                     you plan to bring an action challenging the
      with very few options. I am very concerned that
                                                                     15th Street courtyard portion of the
      the City's train has already left the station and I
                                                                     project, please do so in an expeditious
      must act sooner than later[ sic]. I am available to
                                                                     manner.
      meet with you at your earliest convenience."
      (Emphasis in original.)                                        I understand that you had one meeting
                                                                     with representatives of the City and
      Gold heard nothing more from Winebrake, but
                                                                     SEPTA at the 15th Street courtyard to
      received a letter dated November 14, 2000 from
                                                                     discuss the proj ect. I believe that another
      Assistant City Solicitor Fredrick K. Pasour
                                                                     meeting this week may be useful in order
      regarding the "15th Street Courtyard Portion of the
                                                                     to discuss the project in more detail and to
      Suburban Station Project." In pertinent part,
                                                                     determine if we can reach an agreement
      Pasour's letter stated:
                                                                     that is satisfactory to you,
         I represent the City of Philadelphia with
204                                                              *204
         respect to the above-referenced project. I
         understand that you believe that the ADA,                   the disabled community, the City and
         its regulations and the Accessibility                       SEPTA.
         Guidelines require an elevator in the 15th
                                                                 App'x 477 .
         Street courtyard. I also understand that you
         are considering bringing a lawsuit to                   Despite Pasour's letter, Gold did not immediately
         enjoin the 15th Street courtyard portion of             file a lawsuit, and the City issued SEPTA a
         the project if the City issues a building               building permit on or about February 14, 200 1,
         permit based on plans that do not include               describing the 15th Street Courtyard project as
         an elevator in the 15th Street courtyard.               fo llows :




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      casetext                                                                                                           3
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    Demolition incorporates head house, stair,                        stipulation only precludes DIA "from

    railings, limited wall, veneer, pavement,                         presenting     any      claim     that      Defendant

    and lighting systems. Also to be removed                          SEPTA       allegedly       agreed to        construct
                                                                      elevators     at     City    Hall      in        lieu     of
    are planters, fountain and ceilings.
                                                                      construction of an elevator at the northwest
    Construction scope consists of glass head
                                                                      comer of 15 th and Market Streets." App'x
    house, stair, (2) retail spaces, railings,
                                                                      136 (emphasis added). Here, DIA raises no
    storefront sys., planters, lighting and
                                                                      "claim" based on the alleged agreement.
    paving installed, as well as new ceiling.
                                                                      See   Disabled        in    Action       of Pa.           v.

 App'x 216. SEPTA commenced construction a few                        Southeastern Pa. Transp. Auth., No. 03-
                                                                      CV- 1577, 2006 WL 3392733. at * 16
 days later.
                                                                      (E.D.Pa. Nov. I 7, 2006) (hereinafter DIA) .
 The record suggests several explanations for                         Rather, DIA proffers the agreement as an
 DIA's decision not to file suit prior to this                        explanation for its decision not to file suit
 juncture. First, Gold testified that in 2000, he met                 before construction began on the 15th

 with representatives of SEPTA and the City                           Street Station entrance.

 because "they were really anxious to get a                         5 Gold was confident that he could rely on
 commitment from [him] that there would not be a                      the assurances of Egan and Russo because
 law suit regarding 15th Street." See also App'x                      of their long professiona l relationship , and
 477 (referring to a meeting between Gold and                         DIA Executive Director Nancy Salandra
 "representatives of the City and SEPTA" to                           was content to wait and see if "[SEPTA)
 determine if the parties could "reach an                             would do the right thing."
 agreement"). According to Gold, Frances Egan,
                                                                    6 The     foregoing       account      parallels           the
 Assistant to SEPTA's General Manager for
                                                                      allegations in DIA's Second and Third
 Government and Public Affairs, and Deborah                           Amended Complaints with one exception.
 Russo, a representative of the City, assured him                     The Complaints state that the negotiations
 that in lieu of an elevator at 15th Street, SEPTA                    among       Gold,     SEPTA,        and      the        City
 "would put in the elevator at City Hall and begin                    occurred "[i]n 2000 while the 15th and
 construction in ' 02 with the completion date of                     Market       Street         entrance         was          in
 ' 04."; See also App'x 477 (noting that "elevators                   construction."          App'x            Ill ,          119.

 are planned for other locations near the 15th Street                 Construction on the entrance did not

 courtyard").                                                         commence until February 200 I , however.
                                                                      App'x    212        (SEPTA's      Capital         Project
       3 The City Hall project is discussed in Part
                                                                      Progress Report noting that a "[p)re-
         LB , inji-a.                                                 construclion meeting" regarding the "15th
                                                                      Street Entrance" was held on February 5,
 Gold discussed the proposed compromise with
                                                                      2001)    (emphases          added); App'x               2 16.
 DIA, and DIA agreed that it was acceptable. Gold
                                                                      Because we must resolve such factual
 informed Egan of his client's assent, but neither                    discrepancies in the light most favorable to
 party memorialized the deal. 4 Assuaged                               DIA, we assume that construction had not
 nonetheless, ' DIA took no further action until late                  commenced when the alleged deal among
 2002 when it appeared that SEPTA was not                              DIA, SEPTA, and the City was brokered.

 installing an elevator at City Hall."                                 Michael Foods , -+98 FJd at 20X. 212 .

       4 Although the parties       stipulated DIA's           Gold's explanation for DIA's decision not to file a
         allegations     of   the   DIA-SEPTA-City         205 pre-construction lawsuit is supported *205 by a
         agreement      out   of the   litigation,   the       Settlement Agreement in which DIA voluntarily


  casetext                                                                                                                            4
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   dismissed its claims against the City, and the City        DIA requested "permanent injunctive relief to
   affirmed that it "only granted permits for [the 15th       enjoin [SEPTA] to begin construction immediately
   Street Courtyard] renovation because [it] believed         of a[n] elevator at the 15th and Market Street
   SEPTA had agreed to construct elevators in the             entrance . . . to assure access for persons with
   City Hall Courtyard in lieu of the required elevator       disabilities."
   at 15th and Market."
                                                              B. City Hall Station and Courtyard
   Alternatively, the record suggests that at some
                                                              The second subject of the present dispute is
   point, DIA's strategy shifted from obtaining a pre-
                                                              SEPTA's replacement of an escalator that carried
   construction injunction to pursuing post-
                                                              passengers from the concourse above the City Hall
   construction remedies based on Gold's belief that
                                                              Station platform to City Hall Courtyard.8 Located
   even though "[SEPTA] had started construction or
                                                              near the 15th Street Station, City Hall Station is
   even completed [construction]," the ADA enabled
                                                              one of the busiest stops on the Broad Street
   DIA to force SEPTA to install an elevator. Gold
                                                              subway line and serves as a transfer point between
   admitted that he gave Pasour's admonition to file
                                                              the Broad Street Line, the Market-Frankford Line,
   suit in an expeditious manner "[v]ery, very, very
                                                              and Regional Rail Lines. For instance, from the
   much consideration" but determined that he could
                                                              concourse below City Hall Courtyard, passengers
   "optimize representing [DIA][by] letting [SEPTA]
                                                              can access the 11th and 13th Street Market-
   move the stairs and begin[] the construction
                                                              Frankford Line platforms without using stairs.
   because [DIA] could always get the elevator and
                                                          206 *206
   make [SEPTA] put it [in] if necessary along 15th
   Street." For reasons that are not clear from the                  8 The parties dispute whether this escalator

   record, Gold concluded that if construction did not                 is an exit from the City Hall Station
   proceed, "there would be no elevator."                              platform or from the City Hall Station

   Accordingly, he "decided . . to let [SEPTA and                      mezzanine, a concourse one level above

   the City] sit in their own petard [sic]. "7                         the platfonn. DIA asserts that the esca lator
                                                                       "serves as an exit for patrons disembarking
        7 In the pantheon of mi sused metaphors,                       from the Broad Street Subway City Hall
          "hoist with his own petard"       may be                     Station and     pedestrians   traversing the
          preeminent. A "petard" is a small bomb                       concourse."     SEPTA    admits       that   the
          used to break down doors, but the word                       escalator "serves as an exit for pedestrians
          was derived from the Middle French                           traversing the concourse" but denies that it
          "peter," meaning "to break wind." See                        is "an exit for patrons disembarking from
          WEBSTER'S            THIRD              NEW                  City Hall Station." Apparently, the City
          INTERNATIONA L DICTIONARY 1689                               Hall Courtyard escalator does not extend
          (1993). It is no wonder the word found                       beyond    the   mezzanine     level    so    that
          favor with the master of the double                          passengers exiting onto the City Hall
          entendre.         See           WILLIAM                      Station   platfom1    must     take     another
          SHAKESPEARE,        HAMLET,      Act     III,                escalator to the mezzanine level, then
          Scene 4 ("For ' tis the sport to have the                    board the City Hall Courtyard escalator to
          engineer/Hoist with his own petard").                        reach street level. At this stage of the
                                                                       proceedings, we rej ect SEPTA's hyper-
  Whatever the reasons for waiting, DIA fil ed its
                                                                       technical definition of "exit." Michael
  initial Complaint on March         14, 2003,                         Foods, 498 F.3d at 208. 212. The District
  approximately eight months after the newly                           Court may consider the relevance, if any,
  renovated 15th Street Courtyard entrance was                         of this dispute on remand.
  opened on August 8, 2002 without an elevator.



~ casete xt                                                                                                                5
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 The City Hall Courtyard project was part of               After an unsuccessful settlement attempt, DIA
 SEPTA's Escalator Replacement Program,                    filed a Third Amended Complaint, adding an
 launched in 1999 to improve the safety of                 ADA "key station" claim. See 42 U. S.C. §
 escalators throughout the system. SEPTA included           !2 !47(b); 29 C.F.R. § 37.47. SEPTA moved to
 funding for the program in its FY 2001 Capital            dismiss the key station claim and argued that
 Budget after holding a public meeting to discuss          portions of the Third Amended Complaint should
 the improvements on May 22, 2000. Although no             be stricken pursuant to a stipulation between DIA
 representative of DIA attended the meeting, DIA's         and SEPTA. The District Court refused to dismiss
 Executive Director testified that DIA reviews             the key station claim, but DIA agreed to strike its
 SEPTA's Capital Budget each year and was aware            allegations that SEPTA had agreed to install an
 of the project.                                           elevator at City Hall in lieu of 15th Street.

 By August 17, 2001, SEPTA had barricaded the              On August 16, 2004, DIA reached a settlement
 area around the City Hall Courtyard escalator and         agreement with the City. Therein, the City
 posted signs that read "Project of the Pennsylvania       stipulated that "[i]t is the City's legal opinion that
 Public Transportation Assistance Fund; Escalator          SEPTA is legally obligated under the ADA and
 Replacement at Erie, Spring Garden, City Hall             accompanying Regulations to construct an
 30th Street Stations; Southeastern Pennsylvania           elevator at the 15th and Market Street Courtyard
 Transportation Authority." SEPTA removed the              entrance, which SEPTA renovated." Moreover, the
 existing escalator, extended the wellway and              City asserted that it "only granted permits for [the
 relocated the truss upon which it sat, and installed      15th Street] renovation because [it] believed
 a new escalator. Construction was completed and           SEPTA had agreed to construct elevators in the
 the escalator was opened to the public on or about        City Hall Courtyard." Based on this agreement,
 August 24, 2003 . The finished project did not            the District Court dismissed the City from the
 include an elevator. On February 15, 2005 , DIA           case.
 filed its Fourth Amended Complaint, adding
                                                            On February 15, 2005, DIA filed a Fourth
 allegations regarding this project.
                                                            Amended Complaint in which it added a second
 C. The District Court Proceedings                          claim under § 12147(a) based on SEPTA's
                                                            renovations to the City Hall Courtyard. DIA
 DIA filed its initial Complaint on March 14, 2003 ,
                                                            alleged that SEPTA's renovations to both the 15th
 alleging that SEPTA's renovations to the 15th
                                                            Street and City Hall Courtyards constituted
 Street Station entrance violated the ADA and the
                                                            "alterations" that triggered ADA and RA
 RA. The District Court dismissed the complaint                                       9
                                                        207 accessibility obligations.  *207   -1-2 U.S.C. §
 because DIA failed to name the City of
                                                           !2 147(a); 29 U.S.C. ~ 794(a). DIA also alleged
 Philadelphia, the owner of the real property upon
                                                           that both 15th Street and City Hall are "key
 which the entrance is located, as a defendant.
                                                           stations" that SEPTA must make accessible. -1-2
 After the Court granted DIA relief from the
                                                           U.S.C. § 12!47(b); 29 lJ.S.C. § 79-1-(a) . DIA
 dismissal, DIA added the City as a defendant in its
                                                           requested, inter alia , an injunction compelling
 First Amended Complaint. On October 10, 2003 ,
                                                           SEPTA to construct elevators at both locations.
 DIA filed a Second Amended Complaint, which
                                                           After completing discovery, the parties filed cross
 included allegations about a deal between DIA,
                                                           motions for summary judgment.
 SEPTA, and the City to install an elevator at the
 City Hall Courtyard instead of the 15th Street                  9 Because the District Court dismissed DIA's

 Courtyard.                                                        § 12 147(a) claims as barred by the statute
                                                                   of limitations, it did    not   reach   the
                                                                   vigorously disputed question of whether


 casetext                                                                                                           6
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          SEPTA's            renovations     constituted            DIA's claims arise under Section 227 of the ADA,
          "alterations" within the meaning of the                   42 U.S.C. § 12 1-l7(a), and Section 504 of the RA,
          ADA. We leave this question for the                       29 U.S .C. S 794(a) . 11 The District Court had
          District Court on remand.
                                                                    jurisdiction over these claims pursuant to 28
 The District Court granted SEPTA's motion for                      U.S.C. SS 133 1 and 1343 . We review the District
 summary judgment on all counts. As to DIA's §                      Court's final order granting summary judgment to
 12147(a) claims, the court reasoned that "[t]o                      SEPTA pursuant to 28 U .S.C.               *129 1.
 determine the accrual date of a discrimination                             l l Because    the        procedures,   rights,   and
 claim,    a     court       must    focus    on    when   the                 remedies provided by Section 227 of the
 discriminatory act occurred, not when the effect of                           ADA are identical to those provided by
 that act became painful." DIA 2006 WL 3392733,                                Section 504 of the RA, see -12 U.S.C. ~~
 at *14 (citing Chardon v. Fernandez, 454 U.S. 6.                              12D 3 and 12147(a), we will generally
 8, I 02 S.Ct. 28, 70 L. Ed.2d 6 (1981 )). The District                        refer    only     to     the   ADA     with    the

 Court rejected DIA's argument that SEPTA's                                    understanding that both the ADA and the

 discriminatory acts occurred "upon completion of                              RA are implicated. See Doe v. County of
                                                                               Centre, 2-12 F.3d -1 37. -I-In (3 d Cir. 2001);
 [the] alterations" to the 15th Street and City Hall
 Courtyards. Id.         at *13 (citing 42 U.S.C.           s                  see also McDonald v. Commw. of Pa., 62
                                                                               F.3d 92, 95 (3d Cir. 1995) ("Whether suit is
 12147(a)). Rather, the District Court held that the
                                                                               fil ed under the Rehabilitation Act or under
 claims accrued when DIA knew, or had reason to
                                                                               the [Ameri cans With] Disabilities Act, the
 know, that SEPTA's renovations would not include
                                                                               substantive       standards    for   determining
 elevators. According to the District Court, DIA                               liability are the same.").
 had such knowledge regarding the 15th Street
 Courtyard "no later than November 1, 2000, when                    Our review is plenary, and we apply the same
 DIA was informed that SEPTA would proceed                          standard as the District Court. Michael Foods , -l98
 with the planned construction at the 15th and                      F.3<l at 2 12. We will affirm the grant of summary
 Market Street Courtyard without installing an                      judgment if "the pleadings, depositions, answers
 elevator," id. at * 14, and regarding the City Hall                to interrogatories, and admissions on file, together
 Courtyard, "at least as early as August 17, 2001 ,"                with the affidavits, if any, show that there is no
 when a sign was posted "in the City Hall                           genuine issue as to any material fact" and that
 Courtyard on the outside of the boarded-off                         SEPTA is "entitled to judgment as a matter of
 construction area where the escalator was being                     law." FED. R.C I V.P. 56(c). In making this
 replaced." Id. at * 17. Because DIA filed its §                     determination, we "view the facts in the light most
 12147(a) claims more than two years after these                 208 *208 favorable" to DIA and "draw all inferences"
 dates , the District Court dismissed them as barred                 in DIA's favor. Michael Foods, 498 F.3d at 2 12
 by the statute of limitations, id. , and DIA                        (quoting Farrell v. Planters L!fesavers Co. , 206
 appealed. 111                                                       F.3d 271. 278 (3d Cir. 2000)).

       lO The District Court also di smissed DIA's                   In 1973, Congress passed the Rehabilitation Act to
          "key    station"    claims, holding that    §              assure that no individual with a disability "shall ..
          12147(b) does not create a private right of                . be subjected to discrimination under any program
          action by which individuals may enforce                    or activity receiving Federal financial assistance."
          Department of Transportation regulations                   29 U.S.C. ~ 794( a ). Seventeen years later,
          designating "key stations." Id. at *29. This               Congress extended this mandate to cover all
          decision is not challenged on appeal.
                                                                     public transportation providers in Title II of the

 II.
                                                                     Americans With Disabilities Act. See -l2                       .S .C.   s~

· casetext                                                                                                                                        7
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  12 132 and 12131(1). Title II begins with a general          Sch. Dist, 976 F.2d 980. 983 (5th Cir. 1992); cf
 prohibition of disability-based discrimination, §             Wolsky v. Med. Coll. of Hampton Rds., I F.J d 222.
  12132, followed by seven provisions that define              223 -25 (4th Cir. 1993).
 what "shall be considered discrimination" for
 purposes of the statute . 42 U .S.C.         **
                                        12 142,
                                                               Accordingly, we hold that the statute of limitations
                                                               applicable to claims under Title II of the ADA and
 12143, 12144, 12146, 12147, 12148, and 12162.
                                                               Section 504 of the RA is the statute of limitations
 In this case, we address an important question of
                                                               for personal injury actions in the state in which the
 first impression regarding one of these provisions :
                                                               trial court sits. In this case, the applicable statute is
 when does a claim under§ 12147(a) accrue?
                                                               42 PA. CONS. STAT.        *5524, which prescribes a
 III.                                                          two-year statute of limitations.

 Neither Title II of the ADA nor Section 504 of the            IV.
 RA includes an express statute of limitations. As
                                                               The more difficult question -      and the crux of the
 both statutes were enacted prior to the effective
                                                               dispute between DIA and SEPTA -            is when this
 date of the default four-year statute of limitations
                                                               two year statute of limitations begins to run. In
 for federal statutes, see 28 U.S.C.      ~    1658 , we
                                                               answering this question, we note that "[t]he ADA
 borrow the statute of limitations of the most
                                                               is a remedial statute, designed to eliminate
 analogous state law cause of action. North Star
                                                               discrimination against the disabled in all facets of
 Steel Co. v. Thomas , 5 15 U.S. 29 ..D-34, 115 S.Ct.
                                                               society," and as such, "it must be broadly
 1927, 132 L.Ed.2d 27 (1995); Wilson v. Garcia,
                                                               construed to effectuate its purposes." Kinney v.
 344 U.S. 261. 266-67, 105 S.Ct. 1938, 85 L.L:d.2d
                                                               Yerusalim , 8 12 F.S urr - 547. 551 (E.D.Pa. 1993)
 25-+ (1985). The District Court concluded, and the
                                                               (citing Tcherepnin v. Knight, 389 U.S. 332. 335 ,
 parties do not dispute, that Pennsylvania's two-
                                                           209 88 .Ct. 5-t8, *209 I 9 L. rd.2d 564 (1967)), ajj'd, 9
 year statute of limitations for personal injury
                                                               F.3d 1067 (3d Cir. 1993) .
 claims should apply to claims under§ 12147(a).

 This conclusion is consistent with our precedent
                                                               A.
 regarding the statute of limitations for federal civil        Ordinarily, a statute of limitations begins to run
 rights claims. See, e.g. , Lake v. Arnold, 232 F.3d           from the moment the potential plaintiff has a
 360. 368 (3d Cir. 2000); Kost v. Kozakiewicz, I               "complete and present cause of action." Bay Area
 F.3d 176. 190 (3d Cir. 1993); Baugher v. Univ. of             Laundry Dry Cleaning Pension Trust Fund v.
 Pittsburgh, 882 F.2d 74. 78 (3d Cir. 1989). It is             Ferbar Corp., 522 U.S . 192. I95 , 118 S.Ct. 5-l2,
 also consistent with the majority of Courts of                139 L.Ed.2d 553 (1997) (quoting Rawlings v. Ray,
 Appeals that have decided the question . See                  312 U.S. 96. 98 , 61 S.Ct. 473 , 85 L.Ed. 605
 Gaona v. Town Country Credit, 324 F.3d I 050.                 (1941)) ; Arnold, 232 F.3cl at 366 (quoting Ross v.
  I 055 (8th Cir. 2003) (noting that "most Courts of           Johns-Manville Corp., 766 F.2d 823. 826 (3 d Cir.
 Appeal[s] . . . have applied the state statute of             1985)) (limitations period begins to run "from the
 limitations for personal injury actions to claims             time the cause of action accrue[s]"). For federal
 under the Rehabilitation Act and the ADA") ;                  causes of action, the accrual date is a matter of
 Everett v. Cobb County Sch. Dist., 138 F.3d 1407.             federal law. Romero v. Allstate Corp., 404 F.3d
 1409- 10 (lltl1 Cir. 1998); Soignier v. Am. Bd. of            212. 221 (3d Cir. 2005).
 Plastic Surgery, 92 F.3d 547. 551 (7th Cir. 1996);
                                                               Where Congress has specified an accrual date by
 Baker v. Bd. of Regents, 99 I F.2d 628. 632 (10th
                                                               "explicit command" or "by implication from the
 Cir. 1993); Morse v. Univ. of Vermont, 973 F.2d
                                                               structure and text of the statute," we defer to its
 122 . 127 (2d Cir. 1992); Hickey v. Irving lndep.
                                                               directive. TRW Inc. v. Andrews, 534 U.S. 19. 27 -



  casetext                                                                                                                 8
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    28, l 22 S.Ct. 44 1, 15 1 L.Ed.2d 339 (2001 ); see              With respect to alterations of an existing
    Romero, 404 F.3d at 222 . "[I]n the absence of a                facility or part thereof used in the
    contrary directive from Congress," we apply the                 prov1s10n      of     designated      public
    "federal discovery rule," which dictates that a                 transportation services that affect or could
    federal cause of action accrues "when the plaintiff             affect the usability of the facility or part
    discovers, or with due diligence should have                    thereof,    it     shall    be    considered
    discovered, the injury that forms the basis for the             discrimination, for purposes of section
    claim." Romero, -W4 F.3d at 222 (internal                       l 2132 of this title and section 79-t of Title
    quotation and citations omitted). 1:                            29, for a public entity to fail to make such
                                                                    alterations (or to ensure that the alterations
         12 The Supreme Court has not adopted the
                                                                    are made) in such a manner that, to the
            "discovery   accrual   rule"   as   its   own,
                                                                    maximum extent feasible, the altered
           Andrews, 534 U.S at 27 , 122 S.C'l. 441
                                                                    portions of the facility are readily
           (internal citation omitted), and Justice
            Scalia has criticized the rule as "bad wine
                                                                    accessible to and usable by individuals
            of recent vintage." Id. at 37, 122 S.Ct. 441            with disabilities, including individuals who
           (Scalia, J., concurring).                                use wheel-chairs, upon the completion of
                                                                    such alterations.
    We agree with the parties that Congress did not
    "explicitly command" an accrual date for §                  As the District Court correctly observed, the
    12147(a) claims as it has done for other civil              dispute between DIA and SEPTA "emanates from
    rights actions. Cf -+2 U.S.C.2000e-5(e)( 1) ("A             the difference in how the parties interpret" this
    charge under this section shall be filed within one          provision "as to when the alleged discrimination
    hundred and eighty days after the alleged unlawful           occurs." DIA , 2006 WL 3392733 , at *11. Like the
    employment practice occurred . ... ") ; id. § 3613           parties and the District Court, we believe §
    ("An aggrieved person may commence a civil               210 12147(a)'s concluding phrase -   *2 10 "upon the

    action . . . not later than 2 years after the               completion of such alterations" -  is of
    occurrence or the termination of an alleged                 fundamental importance in answering this
    discriminatory housing practice.               .").         question.
    Nevertheless, for the reasons that follow, we hold          DIA argues that the phrase modifies the entire
    that the "structure and text of the statute,"                definition    of   what   "shall    be   considered
    Andrews, 534 U.S. at 28, l 22 S.Ct. -t4 l , evince           discrimination" because "only when . . . alterations
    Congress's intention that claims under§ 12147(a)             are completed and the inaccessible facility is
    accrue "upon the completion of ... alterations" to           reopened will people with mobility disabilities be
    public transportation facilities.                            subject to discrimination." Therefore, DIA
                                                                 concludes, claims under§ 12147(a) do not accrue
    1.
                                                                 until alterations are completed.
    The portion of§ 12147(a) at issue in this appeal
    provides:                                                    SEPTA invokes the rule of the last antecedent,
                                                                 arguing that the "upon the completion" phrase
                                                                 only modifies the phrase "the altered portions of
                                                                 the facility are readily accessible to and usable by
                                                                 individuals with disabilities" and not "the entire
                                                                 definition of what constitutes discrimination." 1'
                                                                 Under this interpretation, which the District Court
                                                                 adopted, the function of the "upon the completion"



~   casetext                                                                                                            9
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  phrase is "merely [to] suggest that accessibility for         statute in a manner that renders another part
  disabled individuals must be in place at the time             superfluous. Rosenberg, 274 F.3 d at 141-42. We
  the alterations are completed." DIA , 2006 WL                 also consider he overall "object and policy" of the
  3392733 , at *13. In other words, the phrase                  statute, United States v. Schneider, 14 F.3d 876.
  merely acknowledges that while renovations are in             879 (3d Cir. 1994), and avoid constructions that
  progress, facilities will necessarily be inaccessible         produce "odd" or "absurd results" or that are
  to everyone, including "individuals with                      "inconsistent with common sense." See Public
  disabilities,"    and      that    this    temporary          Citizen v. U.S. Dept. of Justice, 49 1 U.S. 440, 45-+,
  inaccessibility is not what§ 12147(a) prohibits.              109 S.ct. 2558, 105 L.Ed.2d 377 (1989) (internal
                                                                quotations     omitted) ;    2A      N.     SINGER,
       13 The "rule of the last antecedent" is a
                                                                SUTHERLAND STATUTES AND STATUTORY
          principle of statutory interpretation under
          which "a limiting clause or phrase . . .
                                                                CONSTRUCTION § 45: 12, at 92 (6th ed. 2000)
          should ordinari ly be read as modifying               (hereinafter SUTHERLAND) .
          only the noun or phrase that it immediately
                                                                  Applying these principles to § 12147(a), we find
          follows ." Barnhart v. nomas, 5-rn U. S. 20.
                                                                  DIA's interpretation of the "upon the completion"
          26, 1 2 ➔ S.l"t. >76 , I 57 L.fa!.2d >33 (2003)
                                                                  phrase more persuasive. The language appears in
          (emphasis added). This rule does not help
                                                                  the "specific context" of a single sentence that
          SEPTA     because     the    statutory   phrase
          immediately      preceding       "upon       the
                                                                  defines activities that "shall be considered
          completion     of     such    alterations"    is        discrimination"; and in the "broader context" of
          "including      individuals       who        use   21 1 Title II, which assures that no "individual *211

          wheelchairs." To be precise, SEPTA is                   with a disability" is "subjected to discrimination."
          arguing for a rule of the second-to-last               42      U.S.C.   **        12 1-+ 7(a) and   12132.
          antecedent -        a far more aspirational            "Discrimination," as it is ordinarily defined, is the
          proposition.                                           denial of "privileges to a certain class because of
                                                                 race, age, sex, nationality, religion, or handicap."
  Our evaluation of these conflicting interpretations
                                                                 BLACK'S LAW DICTIONARY 500 (8th ed.
  is guided by familiar rules of statutory
                                                                 2004). The privileges at stake in § 12147(a) are
  construction. Our primary concern is to give effect
                                                                 access to , and use of, public transportation
  to Congress's intent. Rosenberg v. XM Ventures,
                                                                 facilities. It is difficult to understand how these
  27-+ F.3d 137, 14 1 (3d Cir. 2001). We assume that
                                                                 privileges are denied to individuals with
  "Congress expresses its intent through the
                                                                 disabilities by the mere promulgation or approval
  ordinary meaning of its language" and therefore
                                                                 of renovation plans that do not include
  begin "with an examination of the plain language
                                                                 accessibility features . Instead, as Congress
  of the statute." Id. If the language is unambiguous,
                                                                 recognized, it is only when renovations are
  our inquiry is at an end. Id.
                                                                 completed that individuals with disabilities will be
  A statutory provision is not ambiguous simply                  excluded from accessing and using such facilities
  because "by itself, [it is] susceptible to differing           while others will not. This is the time at which
  constructions" because in addition to the "statutory           disabled individuals are subjected to the disparate
  language . . . itself," we take account of "the                treatment that§ 12147(a) was enacted to prevent.
  specific context in which that language is used,
                                                                 SEPTA's argument that the "upon the completion"
  and the broader context of the statute as a whole."
                                                                 language merely clarifies that§ 12147(a) imposes
  In re Price, 3 70 F.3d 362 . 369 (3d Cir. 2004). We
                                                                 no duty upon public entities to ensure accessibility
  assume, for example, that every word in a statute
                                                                 while transportation       facilities  are under
  has meaning and avoid interpreting one part of a
                                                                 construction is specious. We are confident that


"" casetext                                                                                                              10
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 Congress would not have felt compelled to make               Regarding the first act, we agree with the amicus
 such an obvious clarification. See Public Citizen,           curiae submission of the U.S. Department of
 49 1 U.S. al 454, I 09 S.Ct. 2558 . Faced with a             Justice that as a matter of logic, there can be no
 choice between SEPTA's interpretation, which                 "fail[ure] to make" the "altered portions" of a
 essentially renders the phrase surplusage, and               facility accessible until the alterations are
 DIA's interpretation, which gives it substantial             completed. The relevant act is "to make" - "to
 effect, we choose the latter. See Silverman v.               cause (something) to exist." BLACK'S LAW
 Eastrich Multiple Investor Fund, L.P, 5 I F.3 d 28.          DICTIONARY 975 (8th ed. 2004). Merely
 3 1 (3d Cir. 1995) (A statute "should be construed           funding, designing,          approvmg, or         even
 so that effect is given to all its provisions, so that       commencing construction of alterations that will
 no part will be inoperative or superfluous, void or          not provide accessibility does not "cause" such
 insignificant."); SUTHERLAND§ 45 :12, at 94 ("               alterations "to exist," especially in light of the
 [A] construction that renders a portion of the           212 notoriously contingent nature of construction •2 12
 statute meaningless should not be reached by the             plans. See, e.g., DIA v. Sykes , 833 F.2d 11 13 . 111 5
 court unless that construction is unavoidable.");            (3d Cir. 1987) (subway station renovation planned
 SUTHERLAND§ 46:06, at 190-92 ("No clause[,]                  and funded in 1979 but modified in 1981 to
 sentence[,] or word shall be construed as                    exclude elevator). Therefore, an individual cannot
 superfluous, void or insignificant if the                    suffer discrimination under this portion of the
 construction can be found which will give force to           statute until the alterations are completed.
 ... all the words of the statute.").
                                                              Unlike the first discriminatory act, the second act
 We thus interpret the "upon the completion" clause           can logically occur before, during, or after
 as modifying the statutory definition of                     construction. For example, a public entity
 discrimination such that claims under § 12147(a)             arguably fails "to ensure that . . . alterations are
 arise "upon the completion" of inaccessible                  made" when it fails to insist that construction
 "alterations."                                               drawings include certain features . 1-1 Although
                                                              rational in vacuo, this reading is unfaithful to the
 2.                                                           structure of the statute. Price, 370 F.3d at 369. The
 Our interpretation of this seminal clause in dispute         phrase "or to ensure that the alterations are made"
 on appeal is bolstered by the remainder of the               appears in parentheses immediately following the
 statute. In fact, even if the "upon the completion"          phrase "to fail to make such alterations,"
 clause was absent from the statute, we would                 indicating that the meaning of the fonner phrase is
 conclude that a claim under § 12147(a) does not              related to, or dependent upon, the latter. See Peters
 accrue until alterations are completed.                      v. Ashcroft, 383 F.3d 302. 309 (5th Cir. 2004)
                                                              (noting that parentheses "reduce[] the grammatical
 As the District Court stated, "[t]o determine the
                                                              import" of the language contained therein); see
 accrual date of a discrimination claim, a court
                                                              generally Pritchard v. Liggett Myers Tobacco Co.,
 must focus on when the discriminatory act
                                                              350 F.2d 479. 483 (3d Cir. 1965) (noting that
 occurred." DIA, 2006 WL 3392733 , at* 14 (citing
                                                              punctuation can be a relevant factor in statutory
 Chardon , -t5-+ Li .S. at 8, I 02 S.Ct. 28). Section
                                                              interpretation); SUTHERLAND § 47:15, 261
 12147(a)      defines      two     closely    related
                                                              (favoring rule that treats punctuation as a relevant
 discriminatory acts : the failure (1) "to make"
                                                              factor in statutory construction). Furthermore,
 alterations, and (2) the failure "to ensure that . ..
                                                              both phrases center around a form of the verb "to
 alterations are made," in such a manner that the
                                                              make," an additional indication that they are, in
 altered portions of transportation facilities are
                                                              DIA's words, "two sides of the same coin." See
 accessible and usable.


  casetext                                                                                                              11
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  Merrill Lynch, Pierce, Fenner Smith, Inc. v. Dabit,                                   This    interpretation comports          with   a     similar
  54 7 U.S. 7 1. 86, 126 S.Ct. 1503 , 164 L. Ed.2d 179                                  provision in Title III of the ADA (dealing with
  (2006)      ("Generally, identical                  words used            in          public accommodations) :
  different parts of the same statute are . . .
                                                                                             "[Discrimination . . . includes -               with
  presumed to have the same meaning.") (internal
                                                                                             respect to a facility or part thereof that is
  quotation            and       citation      omitted) . Given           this
                                                                                             altered by, on behalf of, or for the use of an
  context, we hesitate to ascribe to the phrase
                                                                                             establishment in a manner that affects or
  "ensure that the alterations are made" the broad
                                                                                             could affect the usability of the facility or
  and independent meaning SEPTA urges. See
                                                                                 21 3        part thereof, a failure to make *213
  Mizrahi v. Gonzales, 492 F.3d 156, 166 (2d Cir.
                                                                                             alterations in such a manner that, to the
  2007) (declining to ascribe independent meaning
                                                                                             maximum       extent    feasible,    the   altered
  to parenthetical statutory phrase beginning with
                                                                                             portions     of   the    facility   are    readily
  word "or" because "it can reasonably be construed
                                                                                             accessible to and usable by individuals
  to illustrate or explain" the preceding phrase).
                                                                                             with disabilities."
       14 We nevertheless question how plans can
             "ensure" certain results , for it is axiomatic
                                                                                        42 U. .C.   *l2183(a)(2) (emphasis added) . Absent
             that even the best laid plans of mice and                                  from § 12183(a)(2) is the "or to ensure that the
             men often go awry. See, e.g. , Sykes, 8D                                   alterations are made" phrase. Instead, the statute
             I 2d JI 1115 ; Paterson-Leitch Co. v. Mass.                                provides that the offending alterations can be
             Mun . Wholesale Elec. Co., X-10 f- 2d 9, 5.                                made "by" or "on behalf o.f' a public entity. This
             986 (1st Cir. 1988); see generally Harris v.                               language is consistent with our conclusion that
             N. Y. State Dept. of Health, 202 FS upp.2d                                 Congress included the parenthetical phrase in §
             1-l , .    I 5.'     (S.D.N.Y.    2002 ) ("(A]s       is                   12147(a)     to    cover     the   situation    in    which
             common wisdom, even the best laid plans                                    alterations to a public transportation facility are
             are bound to contain inherent flaws, and -                                 made "on behalf of a public entity.
             in the course of their evolution from idea to
             reality, from rudiments to perfected model                                 Moreover, regardless whether the "mak[er]" of the
                       to        encounter     operational     and                      alterations is the public entity itself or the entity's
             developmental difficulties, and even to be                                 agents, the general activity that § 12147(a)
             tested         by     purposeful     hindering     or                      regulates is the same: the mak[ing]" of alterations.
             corruption of their effective functioning.").                              Cf -t2 U.S.C.          *
                                                                                                           3604(t)(3)(C ) (regulating the
                                                                                        underlying  activities of "design[ing} and
  It is more probable that Congress included the
                                                                                        construct[ing}" multifamily dwellings) (emphases
  parenthetical and used the passive verb fonn "are
                                                                                        added) . As discussed, the failure to "make"
  made" because it recognized that a public entity is
                                                                                        alterations in a certain manner, as opposed to
  rarely the entity that "make[s]" the alterations.
                                                                                        "plan" or "design" them, cannot logically occur
  Instead,       alterations            "are     made"        by        sundry
                                                                                        until the comp letion of such alterations .
  contractors           and        subcontractors.           Without       the
  parenthetical, a public entity could immunize itself                                  3.
  from§ 12147(a) liability by delegating renovation
                                                                                        Finally, to establish whether a public entity
  projects to private entities that are not subject to
                                                                                        committed the discriminatory acts of "fail[ing] to
  ADA        liability.           42    U.S. C.      * 121 32 . The                     make" alterations, or "fail[ing] .. . to ensure that .
  parenthetical closes this loophole by placing the
                                                                                        . . alterations are made" in an accessible manner,
  onus on the public entity, as opposed to its agents,
                                                                                        the statute directs us to determine whether "the
  "to ensure" that alterations "are made" in an
                                                                                        altered portions of the facility are readily
  accessible and usable manner.
                                                                                        accessible" - not whether the portions to be


  casetext                                                                                                                                              12
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  altered will be readily accessible. -+2 U.S.C. 9                 Before discussing the policy considerations
  I 2 I 4 7(a) ( emphases added). The verb tenses                  underlying our holding, we clarify the proper
  employed by Congress in this phrase i.e. "altered,"              application of the discovery rule as it was the basis
  past tense, and "are," present tense) further clarify            of the District Court's holding and the subject of
 that the time for passing upon a public entity's                  extended debate between the parties. The District
 success or failure in complying with the statute is               Court reasoned:
 upon completion of the alterations.
                                                                       [In] the absence of any explicit statutory
  In short, despite the District Court's repeated                      limitation period . . . the Court must look
  emphasis on SEPTA's construction plans, 1' the                       elsewhere for guidance as to when a cause
 word "plan" is absent from the statute while the                      of action such as this one accrues. Under
 phrase "completion of . .. alterations" is present.                   federal law, a claim accrues on the date
 Consistent with this language, as well as the                         when the plaintiff knows or has reason to
 structure and purpose of the statute, we hold that          214       know of the *214 injury that is the basis of
 the discriminatory acts defined by § 12147(a)                         the action. To determine the accrual date of
 occur, and the statute of limitations begins to run,                  a discrimination claim, a court must focus
 "upon the completion of ... alterations" to public                    on when the discriminatory act occurred,
 transportation facilities.                                            not when the effect of that act became
                                                                       painful.
       15 See, e.g., DIA , 2006 WL 3392733, at * 12

          (referring     to        "SEPTA's      planned           DIA , 2006 WL 3392733, at * 13-* 14 (internal
          renovations") (emphasis in original); id.                quotations and citations omitted). Although
          (formu lating the question presented as                  largely accurate, two coITections to this statement
          "when, in a suit under the ADA, a                        of law are necessary. First, as discussed in Part
          discriminatory action is deemed to have
                                                                   IV.A, in addition to arising from an "explicit
          occurred, where the alleged discriminatory
                                                                   statutory" directive, id. at * 13, an accrual date can
          action is the violation of a statutory
                                                                   arise "by implication from the structure and text of
          obligation to include an accommodation
                                                                   the statute." Andrews, 534 U.S. at 27-28, 122 S.Ct.
          for See, e.g., DIA, 2006 WL 3392733, at
                                                                   44 1. Second, the District Court erred in applying
          * 12   (referring   to    "SEPTA's     planned
          renovations") (emphasis in original); id.                the discovery rule to establish when DIA's claims
          (formulating the question presented as                   accrued before first determining, per the terms of
          "when, in a suit under the ADA, a                        § 12147(a), when DIA's alleged injuries occurred.
          discriminatory action is deemed to have                  These inquiries are analytically distinct.
          occurred, where the alleged discriminatory
                                                                   Because a potential plaintiff cannot discover his
          action is the violation of a statutory
                                                                   injury before it has occurred, the discovery rule
          obl igation to include an accommodation
          for disabled individuals in planning and
                                                                   only postpones the accrual date of a claim "where
          completing     a    construction       project")         the [plaintiff] is unaware of the injury." CGB
          (emphasis added); id. at        * 14    (noting          Occupational Therapy, Inc. v. RHA Health Servs.
          importance    of    SEPTA's     intention     to         Inc. , 357 F.3d 375. 38-t (3d Cir. 2004). It does not
          "proceed with the planned construction at                accelerate the accrual date "when the [plaintiff]
          the 15th and Market Street Courtyard                     becomes aware that he will suffer injury in the
          without installing an elevator") (emphasis               future." Id.,· see Podobnik v. U.S. Postal Serv. , -t09
          added) .                                                 F.3d 584, 590 (3d Cir. 2005) ("The discovery rule
                                                                   delays the initial running of the statute of
 B.                                                                limitations, but only until the plaintiff has



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 discovered: (1) that he or she has been injured;            DIA , 2006 WL 3392733 , at *13. This concern -
 and (2) that this injury has been caused by another         that public entities will incur unnecessary expense
 party's conduct.") (emphasis added); Oshiver v.             if potential plaintiffs can wait until "the last nail is
 Levin, Fishbein, Sedran Berman, 38 F.3d 1380,           215 hammered into *215 place" to bring suit -             is
 1386 (3d Cir. 1994) (The discovery rule                     assuaged by a number of mitigating and
 "postpones the beginning of the limitations period          countervailing considerations. Id.
 from the date a plaintiff was wronged until the
                                                             First, our interpretation of § 12147(a) does not
 date a plaintiff discovers that he or she was
                                                             prevent a public entity like SEPTA from obtaining
 injured.") (emphasis added).
                                                             preliminary declaratory relief to ensure ADA
 Accordingly, the first step m applying the                  compliance prior to commencing alterations. See
 discovery rule in a situation like the present is to        28 U.S.C. § 220 I. Declaratory relief is available
 establish when the injurious discriminatory act             "to settle actual controversies before they ripen
 defined by the statute actually occurred. See               into violations of a law or a breach of duty."
 Podobnik, -l09 F.Jd at 590. The second step is to           United States v. Fisher-Otis Co., 496 F.2d 11 46.
 determine whether that injury was immediately                1151 (10th Cir. 1974) (emphasis added); see Step-
 discoverable, or whether the accrual date will be           Saver Data Sys., Inc. v. rf,yse Tech. , 912 F.2d 643,
 postponed until it is reasonable to expect the              647 (3d Cir. 1990). Such relief is appropriate
 plaintiff to discover the injury. Oshiver, 38 F.3d at       where "there is a substantial controversy, between
  1386. Having skipped step one, the District                parties having adverse legal interests, of sufficient
 Court's application of the discovery rule resulted          immediacy and reality." Armstrong World Indus.,
 in an accrual date that preceded the occurrence of          Inc. by Wolf son v. Adams, 961 F.2d -l05. 4 11 (3d
 DIA's alleged injuries.                                     Cir. 1992) (quoting Md. Cos. Co. v. Pacific Coal
                                                             Oil Co., 3 I 2 U.S. 270. 273 , 61 S.Ct. 510, 85 L.Ed.
 Because DIA was not injured before SEPTA
                                                             826 (1941)).
 completed its alterations, the discovery rule would
 not have rendered DIA's claims untimely.                    Although SEPTA's activities did not ripen into
                                                             actual violations of § 12147(a) until SEPTA
 C.                                                          completed its alterations to the 15th Street and
 We conclude by reviewing the policy                         City Hall Courtyards, a substantial, immediate,
 considerations underlying our holding. See Price,           and real controversy existed between SEPTA and
 370 F.3d at 375 . In particular, we appreciate the          DIA regarding these activities much earlier. On
 District Court's concern that:                              August 3, 2000, DIA's attorney, Stephen Gold,
                                                             wrote to City Commissioner Edward McLaughlin
      [I]t would be impractical to impose upon a
                                                             expressing DIA's concern that the 15th Street
      defendant the requirement that it fully
                                                             Courtyard project would not comply with the
      complete a facility modification before
                                                             ADA. Gold relayed the same concerns to SEPTA
      having to address any assertion that
                                                             throughout 2000 in a series of meetings with
      modifications that can be clearly
                                                             SEPTA and the City. In these meetings, Gold also
      understood from design drawings and
                                                             discussed SEPTA's ADA obligations regarding the
      specifications amount to alterations
                                                             City Hall Courtyard project. Because of these
      triggering an obligation under the ADA
                                                             interactions, SEPTA was "anxious" to get a
      that might require significant and material
                                                             commitment from DIA "that there would not be a
      modifications that surely would have been
                                                             lawsuit" and was undeniably aware that a
      more easily, efficiently and economically
                                                             substantial controversy existed. Accordingly, to
      incorporated well prior to the completion
                                                             the extent that SEPTA's planned "modifications
      of the work.

  casetext                                                                                                              14
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    [could be] clearly understood from design                 A telephone company infonns a homeowner that it
    drawings and specifications," SEPTA could have            has a right-of-way across the homeowner's
    obtained a declaratory judgment to assuage its            property, and that next Friday, it plans to utilize
    anxieties before proceeding with construction.            the right-of-way to repair an underground line.
                                                              The homeowner informs the company that he
    Conversely, our interpretation of § 12147(a) does
                                                              disputes the parameters of the right-of-way. Upon
    not prevent an entity like DIA from seeking an
                                                              receiving notice of this controversy, the phone
    injunction prior to the commencement of
                                                              company could seek a declaratory judgment to
    construction to prevent threatened ADA
                                                              establish the parameters of the right-of-way and
    violations. See 43A C.J.S. Injunction § 8 ("A
                                                              protect itself from future trespass liability. See
    preliminary injunction is an anticipatory remedy
                                                              Centel Cable Television Co. v. Admiral's Cove
    which prevents the perpetration of a threatened
                                                              Assocs., Ltd., 835 F. 2d 1359. 136 1 (11th Cir.
    wrong .... "); United States v. WT Grant Co., 345
                                                              1988); Commw. v. Wertelet, 696 A.2d 206, 209- 10
    U.S. 629. 633 , 73 S.Ct. 894, 97 L.Ed. 1303
                                                              (Pa.Super. 1997). Conversely, the homeowner
    (1953); Swift Co. v. United States, 276 U.S. 3 11 .
                                                              could obtain an injunction to prevent the phone
    326, 48 S.Ct. 3 11 , 72 L. Ed. 587 (1928).
                                                              company from entering his property until the
    There is little doubt that it would have been better      right-of-way dispute is resolved. See Wertelet, 696
    for all if DIA or SEPTA had sought declaratory or         A.2d at 209-1 0. Even though both declaratory and
    injunctive relief before construction began. It does      injunctive relief are available, the homeowner has
    not follow, however, that a claim for relief on the       no trespass claim against the phone company until
    merits under§ 12147(a) accrues as soon as claims          it physically enters his property. CGB
    for declaratory and injunctive relief accrue. Ramey       Occupational Therapy, 357 F.3d at 384 n. 9; see
    v. District 141, 378 F.3d 269. 279 n. 4 (2d Cir.          United States v. Union Corp., 211 F.Supp.2d 478,
    2004) ("[T]he possibility of maintaining a                495 (E.D.Pa. 2003) (citing RESTATEMENT (2D)
    preliminary injunction proceeding does not trigger        OF TORTS§ 158).
    the statute of limitations."); see Reiter v. Cooper,
                                                              Assume that neither party seeks preliminary relief
    507 U.S. 258. 267, 113 S.Ct. 12 13, 122 L.Ed.2d
                                                              and the phone company enters the homeowner's
    60-1- (1993) ("While it is theoretically possible for
                                                              property. At the moment of entry, the
    a statute to create a cause of action that accrues at
                                                              homeowner's trespass claim accrues. See CGB
    one time for the purposes of calculating when the
                                                              Occupational Therapy, 357 F.3 d at 384 n. 9;
    statute of limitations begins to run, but at another
                                                              Union Corp., 277 F.Supp.2d at 495. It would be
    time for purposes of bringing suit, we will not
                                                              incorrect to say that the statute of limitations on
    infer such an odd result in the absence of any such
                                                              this claim began to run from the time the parties
    indication in the statute."); Dasgupta v. Univ. of
                                                              discovered the dispute regarding the right-of-way.
    Wis. Bd. of Regents, I 21 F.3d 1138. 1140 (7th Cir.
                                                              Similarly, it would be incorrect to say that the
    1997) ("If an employer teils his employee, 'I am
                                                              statute of limitations on a§ 12147(a) claim begins
    going to infringe your rights under Title VII at
                                                              to run as soon as the parties discover a controversy
    least once every year you work for me,' this does
                                                              that may entitle them to preliminary declaratory
216 not start the statute of limitations running on *216
                                                              and injunctive relief.
    the future violations, violations that have not yet
    been committed."). The following hypothetical             In light of the availability of preliminary relief to
    adapted from our decision in CGB Occupational             parties facing the dilemma that confronted DIA
    Therapy, 357 F.3d at 384 n. 9, illustrates our point.     and SEPTA, we believe the District Court's
                                                              concern that public entities will be forced to "re-
                                                              engineer" completed projects "to add the ADA-


 "' casetext                                                                                                          15
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    compliance features" is overstated. DIA, 2006 WL                          include    elevators    should   be     readily
    3392733, at * 13. That may be the unfortunate                             apparent    to    any   reasonably      diligent

    consequence of our decision in this instance,                             potential plaintiff.

    however.                                                               17 As further evidence of the indetenninate

                                                                              nature of SEPTA's interpretation of §
    Second, the District Court's desire to give public
                                                                              12147(a), SEPTA's counsel failed at oral
    entities repose from § 12147(a) liability is not
                                                                              argument to identify a point during the
    advanced by an interpretation of the statute that
                                                                              planning phases of the 15th Street and City
    incorporates the discovery rule. See DIA 2006 WL
                                                                              Hall projects (e.g. upon receipt of funding,
    3392733, at * 13-* 14. The discovery rule dictates
                                                                              approval    of blueprints, or     letting of
    that a cause of action accrues when a potential                           contracts) at which it would have been
    claimant discovers, or should have discovered, the                        reasonable to conclude that DIA should
    injury that forms the basis of his claim. Romero ,                        have discovered its alleged injuries.
    404 F.3d at 222 . As DIA argues, it is easy to
    imagine a situation where an individual with a                    To the contrary, we find that Congress struck a
    disability relocates to Philadelphia many years                   wise balance between the plaintiff-friendly accrual
    from now and attempts to use the 15th Street or                   rule just described and the defendant-friendly rule
    City Hall Courtyard for the first time. A court                   advanced by SEPTA. If § 12147(a) dictated that
    might fairly conclude that this individual neither                claims accrued during the planning stages of a
    discovered, nor, having moved from some distant                   project as SEPTA suggests, potential claimants
    locale, should have discovered, the inaccessibility               would be encouraged to sue early and often, and
    of these stations until his arrival there. 1'' Perhaps            public entities would have little opportunity to
                                                                      address accessibility concerns informally before
217 recognizing this danger, *217         Congress rejected a
                                                                      being hailed into federal court. See Franconia
    variable accrual date 1'        in favor of a bright-line
                                                                      Assoc. v. United States, 536 U .S. 129, 146-47, 122
    rule: § 12147(a) claims accrues                       "upon the
                                                                      S.O. 1993 , 153 L. Ed.2d 132 (2002). This result
    completion of . . . alterations." We find nothing
                                                                      would be antithetical to Congress's explicit
    "implausible," much less imprudent, about this
                                                                      directive that ADA claims be resolved whenever
    decision. DIA 2006 WL 3392733, at* 13
                                                                      appropriate through "alternative means of dispute
         16 Although we do not decide this question,
                                                                      resolution." 42 U.S.C. ~ 122 I 2.
            we would hesitate to apply the discovery
            rule in such a manner. The discovery rule                 SEPTA's proffered rule also encourages claimants
            originated as an equitable doctrine to                    to bring unripe lawsuits that rely on "contingent
            extend the period during which victims of                 future events that may not occur as anticipated, or
            latent     injuries   could     seek    recovery.         indeed may not occur at all." Texas v. United
            Andrews, :\i ➔ L 1.S    a1   27, 122 S.C1. -1 -1 I        States , 523 U.S. 296 , 300, 11 8 S.Ct. 1257, 140
            (noting that the "cry fo r (the discovery]                L. Ed.2d 406 ( 1998). Here, for example, SEPTA
            rule is loudest" in "latent disease and                   could have decided to install elevators before
            medical malpractice" cases); Oshiver, 3R                  completing its renovations, thus making DIA's
            F.3<l at     I3Rh n. 5 (noting that "the
                                                                      ADA and RA claims unnecessary.
            discovery rule's origins are in products
            liability and medical malpractice cases").                Third, the facts of this case belie the District
            We find nothing latent about the injuries                 Court's suggestion that applying the discovery rule
            defined in § 12147(a) because the fact that               to § 12147(a) will assure that accessibility
            newly renovated subway stations do not                    concerns will be addressed "well prior to
                                                                      completion of the work." DIA 2006 WL 3392733,
                                                                      at * 13. In fact, under the District Court's accrual


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    theory, DIA could have filed a timely claim after           "natural effec[t] of the choice Congress has made"
    SEPTA completed the 15th Street Station                     when it included the phrase "upon the completion
    renovations. The District Court concluded that              of such alterations" in the statute. Ricks , 449 U.S .
    DIA had notice of SEPTA's allegedly injurious               at 260 n. 11 , IOl S.Ct. 498 (citation omitted). We
    alterations to the 15th Street Courtyard "no later          are bound by this choice.
    than November 1, 2000." DIA 2006 WL 3392733 ,
    at * 14. Accepting the District Court's conclusion          V.
    that DIA's cause of action accrued on this date,            It is undisputed that DIA's § 12147(a) claims were
    DIA would have had until November 1, 2002 to            2 I 8 timely if the statute of limitations •2 I 8 began to
    bring suit. SEPTA completed construction on the             run from the date the alterations to the 15th Street
    15th Street Courtyard on August 8, 2002, three              and City Hall Stations were completed. See App'x
    months before November l , 2002. Thus, it is                159, 180 (15th Street Courtyard project completed
    apparent that the rule of law established by the            on August 8, 2002); App'x 2 (Complaint regarding
    District Court is ineffectual in preventing cases           15th Street Courtyard filed on March 14, 2003);
    from being brought after construction is                    App'x 164, 188, 320 (City Hall Courtyard project
    completed.                                                  completed in August 2003); App'x 11 (Complaint
                                                                regarding City Hall Courtyard filed on February
    In sum, although we recognize the District Court's
                                                                15 , 2005). Because we have so held, we reverse
    concerns about the inefficiency of requiring public         the District Court's grant of summary judgment in
    entities to address accessibility deficiencies after
                                                                favor of SEPTA and remand for                  further
    the expenditure of substantial resources, that is the
                                                                proceedings consistent with the opinion.




~   casetext




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